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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :      CRIMINAL NO. 19-CR-395 (BAH)
                                             :
LARRY DEAN HARMON,                           :
                                             :
                       Defendant.            :

        SECOND UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

         The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves to continue the sentencing hearing in this case until on or after

November 15, 2024.

         1.     On March 21, 2024, the government informed the Court that the defendant’s

cooperation was coming to a conclusion and that a sentencing date could be set. The defendant

testified at trial in United States v. Sterlingov, D.D.C. N. 21-cr-399 (RDM). The government

requested that the sentencing hearing in this case be scheduled to trail the sentencing date in

Sterlingov.

         2.     The Sterlingov sentencing was originally scheduled for July 15, 2024. It was

subsequently continued from July 15, 2024 until August 21, 2024. In order to trail the rescheduled

Sterlingov sentencing, this Court granted the government’s unopposed motion to continue the

sentencing hearing in this case, which was rescheduled from August 2, 2024 until September 13,

2024.

         3.     On August 14, 2024, the Court in Sterlingov converted the August 2, 2024

sentencing hearing in that case into a forfeiture hearing. The Sterlingov sentencing hearing has

now been rescheduled for November 8, 2024.
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           4.     In order to continue to trail the sentencing in Sterlingov, the government requests

that the sentencing hearing in this case be continued from September 13, 2024 until a date on or

after November 15, 2024,1 excepting the week of Thanksgiving (November 25-29).

           5.     Counsel for the defense does not oppose this motion.

           Accordingly, the government requests that the Court continue the sentencing hearing in

this case until on or after November 15, 2024, and that the remaining deadlines for sentencing

memoranda be reset in accordance with the Court’s Standing Order for Criminal Cases, ECF No.

6, at 4.


                                                Respectfully submitted,
                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
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                                        BY:     /s/ Christopher B. Brown
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1
  Undersigned counsel for the government have another sentencing hearing on November 15, 2024
at 2:00 p.m. before Judge Kollar-Kotelly but would be available for a hearing in this case during
the morning of November 15, 2024.
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